    Case 3:24-cv-00036-RSB-JCH             Document 47        Filed 08/20/24     Page 1 of 1
                                          Pageid#: 509

                                                                                  ,  ,$ ,  !,%!,

                       IN THE UNITED STATES DISTRICT COURT                         ",!! ( ,(,
                                                                                             ,
                      FOR THE WESTERN DISTRICT OF VIRGINIA                            August 20, 2024
                            CHARLOTTESVILLE DIVISION                                %,,% !, ,,,,,,,,,,
                                                                                    *, +, , (
                                                                                           '#, ,
MATAN GOLDSTEIN,               )
                               )
        Plaintiff,             )                             Civil Action No. 3:24-cv-00036
v.                             )
                               )
THE RECTOR AND VISITORS        )
OF THE UNIVERSITY OF VIRGINIA, )
et al.,                        )                             By: Hon. Robert S. Ballou
                               )                             United States District Judge
        Defendant.             )


                       ORDER REFERRING CASE TO MEDIATION

       The court hereby ORDERS that this case is REFERRED to Joel Hoppe, United States

Magistrate Judge, for the purposes of mediation. Counsel shall promptly contact Judge Hoppe’s

chambers to schedule the mediation. The parties are advised that any information provided

during the proceeding shall be treated as confidential and shall not be shared with any other

officer of the court. Mediation shall proceed independently of all other pretrial development and

shall not modify or stay any scheduling provisions of the pretrial order.

       It is so ORDERED.

                                                     Entered: August 20, 2024


                                                     Robert S. Ballou
                                                     Robert S. Ballou
                                                     United States District Judge
